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            Ministère de la Justice     Department of Justice       Cote de sécurité – Security
            Canada                      Canada                      classification

             Bureau de la concurrence   Competition Bureau Legal    PROTÉGÉ B – PROTECTED B
             Services juridiques        Services
             Place du Portage, Tour I   Place du Portage, Phase I
             22e étage                  22nd Floor                  Téléphone/Telephone       Télécopieur/Fax
             50 rue Victoria            50 Victoria Street          416-605-1471          819-953-9267
             Gatineau QC K1A 0C9        Gatineau QC K1A 0C9




                                                                                             VIA EMAIL

June 28, 2023


Beth Wilkinson
WILKINSON STEKLOFF LLP
2001 M Street, N.W., 10th Floor
Washington, D.C. 20036
bwilkinson@wilkinsonstekloff.com

Bambo Obaro
WEIL, GOTSHAL & MANGES LLP
201 Redwood Shores Parkway
Redwood Shores, CA 94065
bambo.obaro@weil.com


Dear Beth Wilkinson and Bambo Obaro:

Re: Factual inaccuracies in Microsoft/Activision court filing

I represent the Commissioner of Competition, who leads the Canadian Competition Bureau (the
“Bureau”), an independent law enforcement agency responsible for, among other things, the
administration and enforcement of the Competition Act (the “Act”). The Bureau has been
investigating the proposed Microsoft/Activision merger pursuant to Part IX of the Act.

I am writing regarding the Defendants’ Memorandum of Law in Opposition to Motion for
Preliminary Injunction (the “Memorandum”), dated June 16, 2023, in Federal Trade Commission
v. Microsoft Corporation and Activision Blizzard, Inc. (Case No. 3:23-cv-02880-JSC). As
described below, the Memorandum (attached as Appendix A for ease of reference) purports to
make certain statements about other antitrust agencies’ review of the proposed
Microsoft/Activision merger. These statements are incorrect at least with respect to the Bureau’s
review.

The statements at issue in the Memorandum are as follows:



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     •   Page 3 (PDF Page 8), Lines 11-13: “It is therefore unsurprising that every single
         worldwide regulator that has examined the deal other than the FTC has rejected this theory
         [that Xbox will take COD away from PlayStation] – including both the European Union
         and the UK’s Competition and Markets Authority (“CMA”).” [emphasis in original]

     •   Page 8 (PDF Page 13), Lines 12-15: “As a result of these efforts, all but one foreign
         regulator to pass on the issue [cloud gaming] has cleared the transaction. The lone
         exception is the United Kingdom’s CMA. But like the European Commission and other
         global competition authorities, the CMA rejected the FTC’s core theories of harm here,
         tied to console foreclosure and subscription service foreclosure.”

     •   Page 17 (PDF Page 22), Lines 6-9: “Ultimately, Lee’s analysis provides no basis to
         disregard the real world, where Sony has a favorable offer for COD, Xbox has made plain
         that it wants to provide COD to Sony (and in fact needs to continue to sell to Sony), and
         regulators around the world all agree that withholding COD from Sony would be
         unprofitable and is thus not a serious concern.”

Contrary to the foregoing quotations from the Memorandum, in a videoconference on May 5, 2023,
the Bureau communicated to Microsoft and Activision’s Canadian counsel that the Bureau has
concluded that the proposed merger is likely to result in a substantial prevention and/or lessening
of competition with respect to gaming consoles and multigame subscription services (as well as
cloud gaming), and that the Bureau is continuing to monitor the transaction.

To correct the inaccuracies in the Memorandum, please provide this letter to the Hon. Jacqueline
Scott Corley of the United States District Court for the Northern District of California, San
Francisco Division as soon as possible before the close of the preliminary injunction hearing.


Yours truly,




Jonathan Bitran
Counsel

cc       Rakesh N. Kilaru, Kieran Gostin, Grace Hill, Anastasia M. Pastan, Jenna Pavelec,
         Wilkinson Stekloff LLP
         Michelle Lally, Kaeleigh Kuzma, Reba Nauth, Osler, Hoskin & Harcourt LLP
         James Weingarten, James Abell, Andrew Heimert, Federal Trade Commission




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                                   APPENDIX A

  Defendants’ Memorandum of Law in Opposition to Motion for Preliminary Injunction

Please see attached.




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